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                                        #:2249



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12
13                          UNITED STATES DISTRICT COURT
14
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
15
16   UNITED STATES OF AMERICA,                     No. CR 2:24-cr-00091-ODW

17             Plaintiff,                          JOINT PROPOSED VERDICT FORM
18                    v.
                                                   Trial Date:      December 3, 2024
19   ALEXANDER SMIRNOV,                            Trial Time:      9:00 a.m.
20                                                 Location:        Courtroom of the
               Defendant.                                           Hon. Otis Wright
21
22
23
24        The parties— the Plaintiff, United States of America, by and through its counsel of
25   record, and Defendant Alexander Smirnov, by and through his counsel of record—
26   pursuant to the Court’s April 12, 2024 Order Continuing Trial (ECF 65), which
27
28                                             1
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                                         #:2250



 1   incorporates by reference the parties’ joint stipulation (ECF 64) submit their Proposed
 2   Joint Verdict Form for the trial of defendant Alexander Smirnov.
 3
 4    Dated: November 18, 2024
 5
      Respectfully submitted,
 6
      DAVID C. WEISS
 7
      Special Counsel
 8
      /s/                                    /s/______________________________
 9
      LEO J. WISE                            DAVID Z. CHESNOFF, ESQ.
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16    Attorneys for Plaintiff                Counsel for Alexander Smirnov
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      Case 2:24-cr-00091-ODW   Document 181 Filed 11/18/24   Page 3 of 5 Page ID
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 1                         UNITED STATES DISTRICT COURT
 2
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
 3
     UNITED STATES OF AMERICA,                No. CR 2:24-cr-00091-ODW
 4
 5        Plaintiff,                          VERDICT FORM FOR DEFENDANT
                                              ALEXANDER SMIRNOV
 6
          v.
 7
 8 ALEXANDER SMIRNOV,
 9        Defendant.
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     Case 2:24-cr-00091-ODW     Document 181 Filed 11/18/24   Page 4 of 5 Page ID
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 1         COUNT ONE – FALSE STAEMENT TO A GOVERNMENT AGENT
 2
 3   RESPONSE 1: We, the Jury, unanimously find the defendant ALEXANDER SMIRNOV,
 4   (check one):
 5
 6                  _____ GUILTY
 7                  _____ NOT GUILTY
 8
 9   of Count One of the Indictment
10
11
12   (Please proceed to Count Two.)
13
14
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                                        #:2253



 1           COUNT TWO – FALSIFICATION OF RECORDS IN FEDERAL
 2                                    INVESTIGATION
 3
 4   RESPONSE 1: We, the Jury, unanimously find the defendant ALEXANDER SMIRNOV,
 5   (check one):
 6
 7                  _____ GUILTY
 8                  _____ NOT GUILTY
 9
10   of Count Two of the Indictment
11
12   Dated: December ____, 2024, at Los Angeles, California.
13
14
15
16                                       __________________________________
17                                       FOREPERSON OF THE JURY
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